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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                           )
 US DOMINION, INC.,DOMINION                                )
 VOTING SYSTEMS, INC., and DOMINION                        )
 VOTING SYSTEMS CORPORATION,                               )
                                                           )
          Plaintiffs,                                      )
                                                           )
               v.                                          )   Case No. 1:21-cv-2131
                                                           )
 PATRICK BYRNE,                                            )
                                                           )
         Defendant.                                        )
                                                           )

                                    NOTICE OF FILING EXHIBITS

         1.         Plaintiffs hereby give notice of filing the attached exhibits, which are exhibits to

the Complaint filed on August 10, 2021 in the case captioned above [D.E. 1] and listed below. All

exhibits listed below have been electronically filed pursuant to LCvR 5.4(a), unless otherwise

noted.

         2.         Due to their nature, certain exhibits listed below are unable to be filed electronically

through the Court’s ECF System. These exhibits are identified in the “Location” column below.

A transcribed copy of each of those exhibits has been electronically filed through the Court’s ECF

System with the corresponding Exhibit Number pursuant to LCvR 5.4(a), unless otherwise noted.

Upon request, Plaintiffs can arrange for files of those exhibits to be delivered to the Court.

 Exhibit                  Description                                              Location
  No.
 349 & Patrick Byrne, How DJT Lost the White House,                    Portions of this exhibit contain
 349-V Chapter 1: All the President’s Teams (11/3-                     audio/video files, which is not a
         12/17), Deep Capture (Jan. 27, 2021),                         format that readily permits
         https://www.deepcapture.com/2021/01/novembe                   electronic filing. A transcript of
         r-3-december-23-all-the-presidents-teams/.                    those audio/video files have been
                                                                       electronically filed with this
                                                                       exhibit.       These files are


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                                                            maintained by counsel and
                                                            available upon request.
350 &   Tech Millionaire Funds Hacking Team 2020            This exhibit is an audio/video
350-V   Election was 100% Rigged, OAN (Nov. 23,             file, which is not a format that
        2020),              previously          available   readily permits electronic filing.
        at https://www.oann.com/tech-millionaire-funds-     A transcript of this audio/video
        hacking-team-20-election-100-rigged/                file has been electronically filed
        [https://app.criticalmention.com/app/#clip/view/    with the corresponding exhibit
        67795b8f-2934-4361-81bd-                            number.       This exhibit is
        710b2250575a?token=37f52d99-127d-4b48-              maintained by counsel and
        b8dc-e5e99babfaaa].                                 available upon request.
351 &    Former CEO Of Overstock Says He Has Proof          This exhibit is an audio/video
351-V   The Election Was Rigged, Can Overturn Biden’s       file, which is not a format that
        Win, Populist Press (Nov. 24, 2020),                readily permits electronic filing.
        https://populist.press/former-ceo-of-overstock-     A transcript of this audio/video
        says-he-has-proof-the-election-was-rigged-can-      file has been electronically filed
        overturn-bidens-win/.                               with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
352 &   Patrick Byrne has been working with Ramsland        This exhibit is an audio/video
352-V   and Merritt, BizTV (Nov. 18, 2020),                 file, which is not a format that
        https://www.youtube.com/watch?v=PbAi7GhaS           readily permits electronic filing.
        Y8.                                                 A transcript of this audio/video
                                                            file has been electronically filed
                                                            with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
353 &   Patrick Byrne: Dissecting The Election Steal,       This exhibit is an audio/video
353-V   Operation    Freedom    (Nov.   24,   2020),        file, which is not a format that
        https://www.youtube.com/watch?v=5fs3tKtmiE          readily permits electronic filing.
        A&feature=youtu.be.                                 A transcript of this audio/video
                                                            file has been electronically filed
                                                            with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
 354    Patrick Byrne, How DJT Lost the White House,
        Chapter 4: The Christmas Doldrums (December
        23- noon January 6), Deep Capture (Feb. 4,
        2021), https://www.deepcapture.com/2021/02/ho
        w-djt-lost-the-white-house-chapter-4-the-
        christmas-doldrums-december-23-noon-january-
        6/.




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 355    Patrick Byrne, BOMBSHELL: Antrim County
        Computer Forensic Report, Deep Capture (Dec.
        14, 2020), https://www.deepcapture.com/2020/1
        2/antrim-county-computer-forensic-report/.

356 &   #TNTR, Founder of Overstock, Patrick Byrne:        This exhibit is an audio/video
356-V   Caught 100 Percent Rigged Election, The Naked      file, which is not a format that
         Truth Report (Nov. 29, 2020), https://www.yout    readily permits electronic filing.
        ube.com/watch?v=UPtHWlTuji4.                       A transcript of this audio/video
                                                           file has been electronically filed
                                                           with the corresponding exhibit
                                                           number.         This exhibit is
                                                           maintained by counsel and
                                                           available upon request.
357 &   Ann Vandersteel & Patrick Byrne 12_22_2020, This exhibit is an audio/video
357-V   Steel       Truth      (Dec.       22,      2020), file, which is not a format that
        https://rumble.com/vc5rtr-ann-vandersteel-and-     readily permits electronic filing.
        patrick-byrne-12-22-2020-steel-truth.html.         A transcript of this audio/video
                                                           file has been electronically filed
                                                           with the corresponding exhibit
                                                           number.         This exhibit is
                                                           maintained by counsel and
                                                           available upon request.
 358    Patrick Byrne, How DJT Lost the White House,
        Chapter 2: Was there Foreign Interference in this
        Election? You Make the Call., Deep Capture (Jan
        31, 2021), https://www.deepcapture.com/2021/0
        1/how-djt-lost-the-white-house-chapter-2-was-
        there-foreign-interference-in-this-election-you-
        make-the-call/
        [https://web.archive.org/web/20210220160932/h
        ttps://www.deepcapture.com/2021/01/how-djt-
        lost-the-white-house-chapter-2-was-there-
        foreign-interference-in-this-election-you-make-
        the-call/].
 359    March 31, 2021 Letter from T. Clare and M.
        Meier to P. Byrne.
 360    Patrick Byrne, Evidence Grows: ’20 Election Was
        Rigged, Deep Capture (Nov. 24, 2020),
        https://www.deepcapture.com/2020/11/election-
        2020-was-rigged-the-evidence/.
361 &   Patrick Byrne, The Deep Rig: How Election Portions of this exhibit contain
361-V   Fraud Cost Donald J. Trump the White House, By audio/video files, which is not a
        a Man Who did not Vote for Him (2021).             format that readily permits
                                                           electronic filing. A transcript of
                                                           those audio/video files have been


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                                                            electronically filed with this
                                                            exhibit.      These files are
                                                            maintained by counsel and
                                                            available upon request.
 362    June 18, 2021 Letter from T. Clare and M. Meier
        to P. Byrne.
363 &   Patrick Byrne, NewsmaxTV Breaks Cone of             This exhibit is an audio/video
363-V   Silence, Millions Hear Story There First, Deep      file, which is not a format that
        Capture         (Nov.          17,         2020),   readily permits electronic filing.
        https://www.deepcapture.com/2020/11/newsmax         A transcript of this audio/video
        tv-breaks-cone-of-silence-millions-hear-story-      file has been electronically filed
        there-first/.                                       with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
364 &   Why cyber experts are checking fraud in these six   This exhibit is an audio/video
364-V   counties, Glenn Beck (Dec. 1, 2020),                file, which is not a format that
        https://www.youtube.com/watch?v=pTZsBotGR           readily permits electronic filing.
        gU.                                                 A transcript of this audio/video
                                                            file has been electronically filed
                                                            with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
365 &   Patrick Byrne: Blowing Open the Election Steal,     This exhibit is an audio/video
365-V   Operation Freedom Insider Insight (Dec. 8,          file, which is not a format that
        2020), https://www.youtube.com/watch?v=8lGd         readily permits electronic filing.
        Rb8IZKA.                                            A transcript of this audio/video
                                                            file has been electronically filed
                                                            with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
366 &   Patrick Byrne Interview: CCP China Accessed         This exhibit is an audio/video
366-V   Dominion Via Wireless Modem, The Pete Santilli      file, which is not a format that
        Show (Dec. 24, 2020), https://rumble.com/vek5z      readily permits electronic filing.
        3-patrick-byrne-the-deep-rig-book-interview-        A transcript of this audio/video
        12242020-pete-santilli-china-domi.html.             file has been electronically filed
                                                            with the corresponding exhibit
                                                            number.       This exhibit is
                                                            maintained by counsel and
                                                            available upon request.
 367    Patrick Byrne (@PatrickByrne), Twitter (Dec. 26,
        2020),         previously      available      at
        https://twitter.com/PatrickByrne/status/1342897
        929279987714?s=20


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         [https://web.archive.org/web/20210225031802/h
         ttps://twitter.com/PatrickByrne/status/13428979
         29279987714?s=20].
  368    Patrick Byrne, The Deep Rig: How Election
         Fraud Cost Donald J. Trump the White House, By
         a Man Who did not Vote for Him (Or, what to
         send to friends who ask, “Why do you doubt the
         integrity of the 2020 Election?”), Deep Capture
         (Feb. 20, 2021), https://www.deepcapture.com/2
         021/02/the-deep-rig-how-election-fraud-cost-
         donald-j-trump-the-white-house-by-a-man-who-
         did-not-vote-for-him-or-what-to-send-friends-
         who-ask-why-do-you-doubt-the-integrity-of-
         election-2020-4-99/.
369 &    The Deep Rig (2021), https://www.loom.com/sh This exhibit is an audio/video
369-V    are/36db4fc626df467b82f1fb9def1949af.           file, which is not a format that
                                                         readily permits electronic filing.
                                                         A transcript of this audio/video
                                                         file has been electronically filed
                                                         with the corresponding exhibit
                                                         number.       This exhibit is
                                                         maintained by counsel and
                                                         available upon request.

Dated: August 10, 2021                             Respectfully submitted,

                                                   By: /s/ Megan L. Meier

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